     Case 2:13-cr-06070-SAB    ECF No. 26-1       filed 12/13/13   PageID.54   Page 1 of
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     KENNETH ROWELL
 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                    )
                                                  )      CR-13-6070-WFN
 8             Plaintiff,                         )
                                                  )
 9     vs.                                        )      ORDER GRANTING MOTION FOR
                                                  )      EXPEDITED HEARING
10   KENNETH ROWELL,                              )
                                                  )
11             Defendant.                         )      (PROPOSED)
                                                  )
12
             BEFORE THE COURT is Defendant’s Motion for Expedited Hearing (Ct.
13

14
     Rec. __). After reviewing the submitted materials and relevant authority, IT

15   IS HEREBY ORDERED that Defendant’s Motion for Expedited Hearing (Ct.

16   Rec. __) is GRANTED.
17

18
     DATED this ___ day of _______, 20__.
19

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                                          ___________________________________
                                                  JAMES P. HUTTON
                                          UNITED STATES MAGISTRATE JUDGE
22

23

24
     ORDER                                        1
